          Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 NANCY E. LEWEN                :
                               :  Civil Action No. 1:17-cv-148-SPB
                  Plaintiff,   :
                               :
          v.                   :
                               :   Judge Susan Paradise Baxter
 BARBARA RAYMOND,              :
                               :
                  Defendant.   :
                               :
                               :
                               :
                               :
              RESPONSE TO MOTION TO RECONSIDER

       And now comes the Defendant, Commandant Barbara Raymond, in connection with

the above-captioned case, by and through her attorneys, who file the within response to Plaintiffs

motion for reconsideration (ECF 72), and set forth as follows:

       This case arises from Plaintiff’s termination from her employment with Defendant, The

       Pennsylvania Soldiers and Sailors Home (PASSH), and her efforts to contest that

termination through the civil service procedures available to her. Plaintiffs’ Second Amended

Complaint (SAC) (ECF 31) contains the operative factual assertions.

       Plaintiff alleges that she was a civil servant, employed as a licensed practical nurse at

PASSH. PASSH is identified as on one of six long term care facilities operated by the

Department of Veterans Affairs. Id. She alleges that on March 2, 2016 she was terminated in

retaliation for her reporting of elder neglect and quality of care issues at the veterans’ home to

the Pennsylvania Attorney General and the Pennsylvania Department of Health. She asserts that

the stated reasons for her termination, allegations of workplace violence, are pretextual. (Id.g

enerally). She alleges that she had a civil service appeal hearing, and an unemployment
          Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 2 of 6



        compensation appeal hearing after her termination, and identifies certain witnesses who

testified at those proceedings. (Id. ¶s 27, 29 and 31) She alleges she was terminated as retaliation

for engaging in protected speech and that Pennsylvania State Civil Service Commission (CSC)

denied her due process in her efforts to overturn the termination. The specific claims were

identified as:

        Claim One- Denial of Freedom of Speech in violation of the First Amendment of the US

        Constitution against all Defendants.

        Claim Two- Denial of Due Process and Equal Protection of the law in violation of the

        Fourteenth Amendment of the US Constitution against all Defendants.

        Claim Three- Retaliation in violation of the Occupational Safety and Health Act of 1970

        (OSH Act). Against all Defendants1

        Claim Four- Whistleblower Retaliation in Violation of the Pennsylvania Whistleblower

        Law, 43 Pa.C.S. §§ 1421-1428, the Older Adults Protective Services Act 35 P.S. §§

        10225.302, 006 Pa. Code §§15.22. Against all Defendants.

        Claim Five- Defamation of Character: Libel, Slander in violation of 42 PA.C.S.A §§

        8341-8345. Against all Defendants for publishing false defamatory statements in public

        records up to and including publishing a statement calling the Plaintiff a “threat to public

        safety”

        Claim Six- Infliction of Mental Anguish and Humiliation. Against all Defendants for

        Exercising such undue hostility and administrative bullying under color of state law as to

        cause the Plaintiff to suffer a complete psychotic breakdown.

        Claim Seven- Wrongful Termination. Against Defendants PASSH, Barbara Raymond,
          Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 3 of 6



       PADMVA, Anthony Carrelli, PACSC, Bryan R. Lentz, Odelfa Smith Preston, Gregory

       Lane

       Claim Eight- Meritless Denial of Unemployment Compensation. Against Defendants

       PASSH, Barbara Raymond, PADMVA, Anthony Carrelli, Pennsylvania department of

       Labor and Industry Unemployment Compensation Board of Review and Kathy

       Manderino

       Claim Nine- Disability Discrimination and Failure to Accommodate a Disability.

       Against all Defendants



       Defendants filed a motion and brief to dismiss the entirety of Plaintiffs claim on

December 15, 2017 (ECF 60 and 61) Plaintiff responded on December 20, 2017 by failing a brief

in opposition (ECF 63) and again on January 2, 2018 by filing a supplemental brief in

opposition.

       On March 25, 2019, this Court entered its order, with supporting opinion, (ECF 67 and

68) granting the motion to dismiss, in part, dismissing all defendants and claims but for the First

Amendment freedom of speech and retaliation claim against defendant Raymond. A review of

the Court’s opinion provides the following reasons as to why the other claims and defendants

were dismissed:

       A. The state Agency defendants were dismissed based on 11th Amendment immunity.

       B. The state law (tort) claims were dismissed based on sovereign immunity

       C. The individual defendants who sat on boards or commissions that reviewed Plaintiffs

              various claims as she sought redress are immune pursuant to quasi-judicial immunity
         Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 4 of 6



       D. The Whistle Blower action was untimely as she was fired on March 2, 2016 but did

           not commence this action till June 8, 2017, well beyond the 180 day statutory time

           limit

       E. Defendant Carrelli was dismissed as there was no clear claim pled, and he could not

           be liable on a respondeat superior basis

       F. The First Amendment claim against Raymond survived the 12 b 6 motion

       G. The Due Process claim against Raymond was dismissed, as plaintiff did not have a

           sufficient property interest

       H. The ADA claim against Raymond was dismissed as Raymond is not a “public entity”

           subject to such a claim.

       I. The unknown board members would also have quasi-judicial immunity.


       Plaintiff has filed a motion for reconsideration (ECF 72) asking the Court to reconsider

the dismissal of certain of the claims and defendants. She argues that she has filed several nunc

pro tunc appeals to the decisions by the State Civil Service Commission, the Unemployment

Compensation Board of Review and the Bureau of professional and Occupational Affairs. She

alludes that the case “might not be ripe for consideration on the Motion to Dismiss” To the

extent Plaintiff concedes she does not have all of the elements necessary to pursue certain claims

that concession speaks for itself. Regardless, the Courts reasoning to dismiss these discussed

defendants and claims was based upon immunity. There has been no change in law,

circumstances, or any mistakes that would require any reconsideration.

       Plaintiff next argues that she had sent a letter with a notice that she intended to sue

certain of the defendants on August 10, 2016. Setting aside whether such a letter would toll the

statute, even if it did, she then waited from August 10, 2016 to June 8 of 2017 (311 days) to file
          Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 5 of 6



her lawsuit. That time period itself is well beyond the 180 day limitation. Accordingly, she

cannot escape the timeliness issue even if the Court would conclude that her unilateral “mistake”

gave her the benefit of rule 60(b). Ignorance or carelessness on the part of a litigant's attorney is

not sufficient grounds for granting relief under Rule 60(b). PTS Realty Holding, LLC v.

Frompovicz, No. CV 17-0319, 2017 WL 5515960, at *1 (E.D. Pa. Mar. 1, 2017)


       The Plaintiffs further arguments on timeliness are of no concern, given that only the

Whistleblower claim was dismissed as untimely. Further, any and all such arguments, such as a

tolling argument based upon lack of knowledge, could have been submitted in the two filings

plaintiff made in opposition to the motion. Further, plaintiff’s assertion that the Civil Service

Commissioners should have “resolved the whistleblower retaliation claim themselves, in their

forum” again misses the mark. The Commission and its members were not dismissed from this

lawsuit base on timeliness issues. Further, her legal position is flat out wrong, as the

Commonwealth Court of Pennsylvania has original jurisdiction of whistleblower claims.


                                          CONCLUSION

       Plaintiff has not set forth any legitimate reason for this Court to reconsider its rulings on

the motion to dismiss. Plaintiff is, trying to make new arguments that were well within her

knowledge and control at the time her response was due. Further, her arguments do not relate to

the Courts reasoning on most of the dismissals. This case should now proceed with the

remaining claims against the remaining defendant, and plaintiff will be able to exercise her

appeal rights after any final determination by the district court.



                                               Respectfully submitted,

                                               JOSH SHAPIRO
         Case 1:17-cv-00148-SPB Document 77 Filed 04/25/19 Page 6 of 6



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